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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES,
   INC.,
                                                            CASE NO. 17-CV-00454-GKF-JFJ
                  Plaintiff,

          vs.

   CASTLE HILL STUDIOS LLC, et al.

                  Defendants.


                DEFENDANTS’ MOTION TO SEAL MOTION IN LIMINE
            TO EXCLUDE EVIDENCE RELATING TO A CERTAIN ALGORITHM

          Pursuant to Local Rule 79.1, and paragraph 2(f) of the Stipulated Protected Order (ECF No.

   55) (the “Protective Order”), Defendants Castle Hill Studios LLC, Castle Hill Holdings LLC, and

   Ironworks Development LLC (together “Castle Hill”), hereby request that the Court enter an order

   sealing Defendant’s unredacted Motion In Limine To Exclude Evidence Relating To A Certain

   Algorithm (the “Motion”) and Exhibits A-E to the Declaration of Robert C. Gill in support of the

   Motion (collectively, ECF No. 156). In support of this request to seal, Castle Hill states as follows:

          1.      Portions of the Motion contain information designated by Castle Hill as Highly

   Confidential Information pursuant to paragraph 2(c) of the Stipulated Protective Order (ECF No.

   55).

          2.      Exhibit A to the Declaration consists of certain excerpts of the deposition of Stacy

   Friedman. Plaintiff designated this document as Highly Confidential pursuant to the Stipulated

   Protective Order.

          3.      Exhibit B to the Declaration consists of certain excerpts of the deposition of Alan

   Roireau. Castle Hill designated this document as Highly Confidential pursuant to the Stipulated

   Protective Order.
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          4.      Exhibit C to the Declaration of Robert C. Gill consists of certain excerpts of the

   Rebuttal Report of Robert Zeidman. Plaintiff designated this document as Highly Confidential

   pursuant to the Stipulated Protective Order.

          5.      Exhibit D to the Declaration of Robert C. Gill consists of certain excerpts of the

   Opening Expert Report of Stacy Friedman Report. Plaintiff designated this document as Highly

   Confidential pursuant to the Stipulated Protective Order.

          6.      Exhibit E to the Declaration of Robert C. Gill consists of certain excerpts of the

   September 6, 2018 Motion to Compel Discovery Hearing Transcript. Pursuant to the Court’s

   Notice Re: Redaction of Transcripts (Doc. 146), the time to request redaction of the public

   transcript has not yet passed. Accordingly, the transcript should be treated preliminarily as Highly

   Confidential information pursuant to the Stipulated Protective Order.

          7.      Pursuant to Local Rule 79.1, General Order 08-11, and the Protective Order, Castle

   Hill filed a public, redacted Motion with public, redacted exhibits and a sealed, unredacted Motion

   with sealed, unredacted exhibits.

          WHEREFORE, Defendants respectfully request that the Court enter an Order sealing the

   unredacted Motion and Exhibits A-E to the Declaration of Robert C. Gill.


   Dated: October 12, 2018                        Respectfully submitted,

                                                  /s/ Robert C. Gill
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                                     CERTIFICATE OF SERVICE
            I hereby certify that on this 12th day of Octover, 2018, I caused a copy of the foregoing
   Defendants’ Motion To Seal Motion In Limine To Exclude Evidence Relating To A Certain
   Algorithm to be filed using the Court’s ECF system, which will provide electronic notification of
   filing to the following counsel for Plaintiff:

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                                                                 /s/ Robert C. Gill
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